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                                            #:13581
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From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Monday, October 17, 2022 06:12 PM
To:                        trademarks@fenwick.com
Subject:                   Official USPTO Notification: U.S. Trademark SN 97106855 -- Docket/Reference No. 39048-00070

                                                                   OFFICIAL USPTO NOTICE OF ABANDONMENT

                                          TRADEMARK APPLICATION ABANDONED FAILURE TO TIMELY RESPOND TO OFFICE ACTION

U.S. Application Serial No. 97106855
Mark: APE
Owner: YUGA LABS, INC.
Docket/Reference No. 39048-00070

Issue Date: October 17, 2022

The application above is abandoned because we did not receive a response to the previous Office action within the six-month response period.

If you did not receive the Office action or if the delay in filing your response was unintentional, you can file a Petition to Revive Abandoned Application - Failure to Respond
Timely to Office Action form. You must file the petition within two months of the issue date of this notice. The petition must include the following:

  (1) A signed statement by someone with firsthand knowledge of the facts, stating that the delay in responding by the due date was unintentional;

  (2) A complete response to the Office action if the Office action was received, or, if the Office action was not received, a clear statement of this fact; and

  (3) A petition fee.

If you have proof that the application was abandoned due to USPTO error, you can file a Request for Reinstatement of the application and include the proof (such as a copy of
an email confirmation issued by the USPTO that includes the date of receipt and a summary of the online submission). You must file the request within two months of the
issue date of this notice. There is no fee for this request.

For more information on filing a petition, see our webpage on petitions.

For questions about this notice, filing a petition, or filing a request for reinstatement, contact the Trademark Assistance Center at 1-800-786-9199 (select option 1) or at
TrademarkAssistanceCenter@uspto.gov.

View this notice and other documents for this application online in the Trademark Status and Document Retrieval (TSDR) database.
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                                      #:13582
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From:             tmng.notices@uspto.gov
Sent:             Monday, October 17, 2022 03:03:34 PM EDT
To:               trademarks@fenwick.com
Subject:          Official USPTO Notification: U.S. Trademark Application SN 97106855 -- Docket/Reference
                  No. 39048-00070


OFFICIAL USPTO NOTICE OF ABANDONMENT
TRADEMARK APPLICATION ABANDONED
FAILURE TO RESPOND TIMELY TO OFFICE ACTION



U.S. Application Serial No. 97106855
Mark: APE
Owner: YUGA LABS, INC.
Docket/Reference No. 39048-00070

Issue date: October 17, 2022


The application above is abandoned because we did not receive a response to the previous Office action
within the six-month response period.

If you did not receive the Office action or if the delay in filing your response was unintentional, you can file a
Petition to Revive Abandoned Application - Failure to Respond Timely to Office Action form. You must file
the petition within two months of the issue date of this notice. The petition must include the following:

(1) A signed statement by someone with firsthand knowledge of the facts, stating that the delay in responding
by the due date was unintentional;

(2) A complete response to the Office action if the Office action was received, or, if the Office action was not
received, a clear statement of this fact; and

(3) A petition fee.

If you have proof that the application was abandoned due to USPTO error, you can file a Request for
Reinstatement of the application and include the proof (such as a copy of an email confirmation issued by the
USPTO that includes the date of receipt and a summary of the online submission). You must file the request
within two months of the issue date of this notice. There is no fee for this request.

For more information on filing a petition, see our webpage on petitions.

Direct questions about this notice, filing a petition, or filing a request for reinstatement to the Trademark
Assistance Center at 1-800-786-9199 (select option 1) or TrademarkAssistanceCenter@uspto.gov.

View this notice and other documents for this application in the Trademark Status and Document Retrieval
(TSDR) database.
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   To:           Mark A. Jansen(trademarks@fenwick.com)
   Subject:      U.S. Trademark Application Serial No. 97106855 - APE - 39048-00070
   Sent:         April 01, 2022 12:04:44 PM EDT
   Sent As:      tmng.notices@uspto.gov


   Attachments
   Snag_15556270.png


                        United States Patent and Trademark Office (USPTO)
              Office Action (Official Letter) About Applicant’s Trademark Application



U.S. Application Serial No. 97106855

Mark: APE

Correspondence Address:
Mark A. Jansen
Fenwick & West LLP
801 California Street
Mountain View CA 94041 UNITED STATES

Applicant: Yuga Labs LLC

Reference/Docket No. 39048-00070

Correspondence Email Address: trademarks@fenwick.com



                               NONFINAL OFFICE ACTION


The USPTO must receive applicant’s response to this letter within six months of the issue date
below or the application will be abandoned. Respond using the Trademark Electronic Application
System (TEAS). A link to the appropriate TEAS response form appears at the end of this Office
action.

Issue date: April 01, 2022

The referenced application has been reviewed by the assigned trademark examining attorney. Applicant
must respond timely and completely to the issue(s) below. 15 U.S.C. §1062(b); 37 C.F.R. §§2.62(a),
2.65(a); TMEP §§711, 718.03.
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SEARCH OF USPTO DATABASE OF MARKS

The trademark examining attorney searched the USPTO database of registered and pending marks and
found no conflicting marks that would bar registration under Trademark Act Section 2(d). 15 U.S.C.
§1052(d); TMEP §704.02.

SUMMARY OF ISSUES:
  • Unacceptable Specimen
  • M ark on Drawing Differs from Mark on Specime n
  • I dentification of Goods a nd Services
  • Multiple-Class Application Requirements


UNACCEPTABLE SPECIMEN

Specimen does not show use in specific class(es). Registration is refused because the specimen does
not show the applied-for mark as actually used in commerce in connection with any of the goods and/or
services specified in International Class(es) 42. Trademark Act Sections 1 and 45, 15 U.S.C. §§1051,
1127; 37 C.F.R. §§2.34(a)(1)(iv), 2.56(a); In re Keep A Breast Found., 123 USPQ2d 1869, 1876-79
(TTAB 2017); TMEP §§904, 904.07(a), 1301.04(d), (g)(i). An application based on Trademark Act
Section 1(a) must include a specimen showing the applied-for mark as actually used in commerce for
each international class of goods and/or services identified in the application or amendment to allege
use. 15 U.S.C. §1051(a)(1); 37 C.F.R. §§2.34(a)(1)(iv), 2.56(a); TMEP §§904, 904.07(a); see In re Gulf
Coast Nutritionals, Inc., 106 USPQ2d 1243, 1247 (TTAB 2013).

Specifically, applicant has indicated use with respect to the identification for "Providing on-line non-
downloadable virtual goods, namely, digital art; providing online digital artwork and images; non-
fungible tokens (nfts) or other digital tokens based on blockchain technology". However, the specimen
states "BUY AN APE" followed by "To get a Bored Ape, check out the collection on OpenSea" above
a link that states "BUY AN APE ON OPENSEA". Thus, OpenSea appears to be the source of
applicant's services. As a result, the specimen does not show use of the applied-for mark in connection
with the identified services.

Examples of specimens. Specimens for services must show a direct association between the mark and
the services and include: (1) copies of advertising and marketing material, (2) a photograph of business
signage or billboards, or (3) materials showing the mark in the sale, rendering, or advertising of the
services. See 37 C.F.R. §2.56(b)(2), (c); TMEP §1301.04(a), (h)(iv)(C).

Any webpage printout or screenshot submitted as a specimen must include the webpage’s URL and the
date it was accessed or printed on the specimen itself, within the TEAS form that submits the specimen,
or in a verified statement under 37 C.F.R. §2.20 or 28 U.S.C. §1746 in a later-filed response. See 37
C.F.R. §2.56(c); TMEP §§904.03(i), 1301.04(a).

Response options. Applicant may respond to this refusal by satisfying one of the following for each
applicable international class:

                   (1)      Submit a different specimen (a verified “substitute” specimen) that (a) was
            in actual use in commerce at least as early as the filing date of the application or prior to
            the filing of an amendment to allege use and (b) shows the mark in actual use in commerce
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            for the goods and/or services identified in the application or amendment to allege use. A
            “verified substitute specimen” is a specimen that is accompanied by the following
            statement made in a signed affidavit or supported by a declaration under 37 C.F.R. §2.20:
            “The substitute (or new, or originally submitted, if appropriate) specimen(s) was/were in
            use in commerce at least as early as the filing date of the application or prior to the filing of
            the amendment to allege use.” The substitute specimen cannot be accepted without this
            statement.

                  (2)     Amend the filing basis to intent to use under Section 1(b) (which includes
            withdrawing an amendment to allege use, if one was filed), as no specimen is required
            before publication. This option will later necessitate additional fee(s) and filing
            requirements, including a specimen.

For an overview of the response options referenced above and instructions on how to satisfy these
options using the online Trademark Electronic Application System (TEAS) form, see the Specimen
webpage.

Applicant should note the following additional ground for refusal.


MARK ON DRAWING DIFFERS FROM MARK ON SPECIMEN

Mark shown on drawing does not match mark on specimen. Registration is refused because the
specimen does not show the mark in the drawing in use in commerce in International Class(es) 42,
which is required in the application or amendment to allege use. Trademark Act Sections 1 and 45, 15
U.S.C. §§1051, 1127; 37 C.F.R. §§2.34(a)(1)(iv), 2.56(a); TMEP §§904, 904.07(a), 1301.04(g)(i). The
mark appearing on the specimen and in the drawing must match; that is, the mark in the drawing “must
be a substantially exact representation of the mark” on the specimen. See 37 C.F.R. §2.51(a)-(b); TMEP
§807.12(a).

In this case, the drawing displays the mark as APE. However, the specimen displays the following
marks: BA YC with design, BA YC BORED APE YACHT CLUB with design, BAYC, and BORED
APE YACHT CLUB. Further, the specimen states "To get your Bored Ape check out the collection on
OpenSea" below the statement BUY AN APE. This suggests BORED APE is the source identifier of
applicant's goods. Applicant has thus failed to provide the required evidence of use of the mark in
commerce. See TMEP §807.12(a).

Response options. Applicant may respond to this refusal by satisfying one of the following:

                   (1)       Submit a different specimen (a verified “substitute” specimen) for each
            applicable international class that (a) shows the mark in the drawing in actual use in
            commerce for the goods and/or services in the application or amendment to allege use, and
            (b) was in actual use in commerce at least as early as the filing date of the application or
            prior to the filing of an amendment to allege use.

            Examples of specimens. Specimens for services must show a direct association between
            the mark and the services and include: (1) copies of advertising and marketing material, (2)
            a photograph of business signage or billboards, or (3) materials showing the mark in the
            sale, rendering, or advertising of the services. See 37 C.F.R. §2.56(b)(1), (c); TMEP
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            §1301.04(a), (h)(iv)(C).

            Any webpage printout or screenshot submitted as a specimen must include the webpage’s
            URL and the date it was accessed or printed on the specimen itself, within the TEAS form
            that submits the specimen, or in a verified statement under 37 C.F.R. §2.20 or 28 U.S.C.
            §1746 in a later-filed response. See 37 C.F.R. §2.56(c); TMEP §§904.03(i), 1301.04(a).

                   (2)     Submit a request to amend the filing basis to intent to use under Section
            1(b) (which includes withdrawing an amendment to allege use, if one was filed), as no
            specimen is required before publication. This option will later necessitate additional fee(s)
            and filing requirements such as providing a specimen.

The USPTO will not accept an amended drawing submitted in response to this refusal because the
changes would materially alter the drawing of the mark in the original application or as previously
acceptably amended. See 37 C.F.R. §2.72(a)-(b); TMEP §807.14. Specifically, the marks on the
specimen create a separable commercial impression from the mark on the drawing.

For more information about drawings and instructions on how to satisfy these response options using
the online Trademark Electronic Application System (TEAS) form, see the Drawing webpage.

Although applicant’s mark has been refused registration, applicant may respond to the refusal(s) by
submitting evidence and arguments in support of registration. However, if applicant responds to the
refusal(s), applicant must also respond to the requirement(s) set forth below.


IDENTIFICATION OF GOODS AND SERVICES

Applicant has identified the following goods and services:

      Class 9:
      Computer software platforms for developing, building, and operating distributed
      applications

      Class 36: Cryptocurrency, namely, providing a digital currency or digital token for use by
      members of an on-line community via a global computer network; Cryptocurrency services
      in the nature of providing a digital currency or digital token incorporating cryptographic
      protocols used to operate and build applications and blockchains on a decentralized
      computer platform and as a method of payment for goods and services

      Class 41:
      Providing online game services

      Class 42:
      Design, development, and implementation of software for distributed computing platforms;
      Design, development, and implementation of software for blockchain software; Developing
      customized software in the field of distributed computing platforms for others; Developing
      customized software in the field of blockchain software for others; Software development and
      product development consulting in the field of distributed computing platforms; Software
      development and product development consulting in the field of blockchain software;
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      Providing on-line non-downloadable virtual goods, namely, digital art; providing online
      digital artwork and images; non-fungible tokens (nfts) or other digital tokens based on
      blockchain technology

The above bolded wording must be clarified because it is too broad and could include goods and/or
services in other international classes. Specifically, in Class 9, applicant must specify that the computer
software is downloadable. Similarly, in Class 41 applicant must specify the type of game being
provided. In Class 42, applicant must clarify the purpose of the software being provided. Further, the
identifications for "providing on-line non-downloadable virtual goods, namely, digital art; providing
online digital artwork and images; non-fungible tokens (nfts) or other digital tokens based on
blockchain technology" must be clarified because these identifications could encompass goods and/or
services in Classes 9 or 41 as indicated below.

Lastly, with respect to Class 36, the identification for "Cryptocurrency services in the nature of
providing a digital currency or digital token incorporating cryptographic protocols used to operate and
build applications and blockchains on a decentralized computer platform and as a method of payment
for goods and services" is indefinite and must be clarified because it is merely a variation of
the definition of cryptocurrency. See attached webpage. Similarly, the identification for
"Cryptocurrency, namely, providing a digital currency or digital token for use by members of an on-
line community via a global computer network" is indefinite and must be clarified because the
identification could encompass marketplace services in Class 35 as indicated in bold below.

Applicant may adopt the following identification, if accurate:

      Class 9
      Computer software platforms, downloadable, for application development and operation;
      Downloadable image files containing {indicate subject matter or field, e.g., trading cards,
      artwork, memes, sneakers, etc.} authenticated by non-fungible tokens (NFTs) utilizing
      blockchain technology

      Class 35
      Provision of an online marketplace for buyers and sellers of digital tokens in the nature of
      downloadable digital {indicate type of downloadable digital goods, e.g., art images, music,
      video clips, etc.} authenticated by non-fungible tokens (NFTs)

      Class 36
      Cryptocurrency exchange services using blockchain technology

      Class 41
      Entertainment services, namely, providing online {specify e.g., video, augmented reality,
      computer} games; Entertainment services, namely, providing online non-downloadable
      virtual goods, namely, digital art authenticated by non-fungible tokens for use in virtual
      environments created for entertainment purposes; providing online non-downloadable
      digital artwork and images authenticated by non-fungible tokens (NFTs)

      Class 42
      Design, development, and implementation of software for {indicate purpose} for use with
      distributed computing platforms; Design, development, and implementation of software for
      {indicate purpose} using blockchain technology; Developing customized software in the field
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      of {specify} for other for use with distributed computing platforms; Developing customized
      software in the field of {specify} for others for use with blockchain technology; Software
      development and product development consulting in the field of {specify} for use with
      distributed computing platforms; Software development and product development consulting in
      the field of blockchain technology software

Applicant may amend the identification to clarify or limit the goods and/or services, but not to broaden
or expand the goods and/or services beyond those in the original application or as acceptably amended.
See 37 C.F.R. §2.71(a); TMEP §1402.06. Generally, any deleted goods and/or services may not later be
reinserted. See TMEP §1402.07(e).

For assistance with identifying and classifying goods and services in trademark applications, please see
the USPTO’s online searchable U.S. Acceptable Identification of Goods and Services Manual. See
TMEP §1402.04.


MULTIPLE-CLASS APPLICATION REQUIREMENTS

The application references goods and/or services based on use in commerce in more than one
international class; therefore, applicant must satisfy all the requirements below for each international
class:

                  (1)      List the goods and/or services by their international class number in
            consecutive numerical order, starting with the lowest numbered class (for example,
            International Class 3: perfume; International Class 18: cosmetic bags sold empty).

                   (2)      Submit a filing fee for each international class not covered by the fee(s)
            already paid (view the USPTO’s current fee schedule). Specifically, the application
            identifies goods and/or services based on use in commerce that are classified in at least five
            classes; however, applicant submitted a fee(s) sufficient for only four class(es). Applicant
            must either (a) submit the filing fees for the classes not covered by the submitted fees or
            (b) restrict the application to the number of classes covered by the fees already paid.

                  (3)     Submit verified dates of first use of the mark anywhere and in commerce
            for each international class. See more information about verified dates of use.

                  (4)     Submit a specimen for each international class. The current specimen is
            not acceptable for Class 42. The remainder of the application remains under Section 1(b)
            and does not require a specimen at this time. See more information about specimens.

            Examples of specimens. Specimens for services must show a direct association between
            the mark and the services and include: (1) copies of advertising and marketing material, (2)
            a photograph of business signage or billboards, or (3) materials showing the mark in the
            sale, rendering, or advertising of the services. See 37 C.F.R. §2.56(b)(2), (c); TMEP
            §1301.04(a), (h)(iv)(C).

            Any webpage printout or screenshot submitted as a specimen must include the webpage’s
            URL and the date it was accessed or printed on the specimen itself, within the TEAS form
            that submits the specimen, or in a verified statement under 37 C.F.R. §2.20 or 28 U.S.C.
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            §1746 in a later-filed response. See 37 C.F.R. §2.56(c); TMEP §§904.03(i), 1301.04(a).

                  (5)      Submit a verified statement that “The specimen was in use in commerce
            on or in connection with the goods and/or services listed in the application at least as
            early as the filing date of the application.” See more information about verification.

See 37 C.F.R. §2.86(a); TMEP §§1403.01, 1403.02(c).

For an overview of the requirements for a Section 1(a) multiple-class application and how to satisfy the
requirements online using the Trademark Electronic Application System (TEAS) form, see the
Multiple-class Application webpage.

ASSISTANCE

Please call or email the assigned trademark examining attorney with questions about this Office action.
Although an examining attorney cannot provide legal advice, the examining attorney can provide
additional explanation about the refusal(s) and/or requirement(s) in this Office action. See TMEP
§§705.02, 709.06.

The USPTO does not accept emails as responses to Office actions; however, emails can be used for
informal communications and are included in the application record. See 37 C.F.R. §§2.62(c), 2.191;
TMEP §§304.01-.02, 709.04-.05.

How to respond. Click to file a response to this nonfinal Office action.



                                       /Megan Clifford/
                                       Megan Clifford
                                       Trademark Examining Attorney
                                       Law Office 111
                                       (571) 272-9322
                                       megan.clifford@uspto.gov



RESPONSE GUIDANCE
   • Missing the response deadline to this letter will cause the application to abandon. The
     response must be received by the USPTO before midnight Eastern Time of the last day of the
     response period. TEAS maintenance or unforeseen circumstances could affect an applicant’s
     ability to timely respond.

   • Responses signed by an unauthorized party are not accepted and can cause the application to
     abandon. If applicant does not have an attorney, the response must be signed by the individual
     applicant, all joint applicants, or someone with legal authority to bind a juristic applicant. If
     applicant has an attorney, the response must be signed by the attorney.

   • If needed, find contact information for the supervisor of the office or unit listed in the
     signature block.
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